
248 P.3d 24 (2011)
240 Or. App. 559
In the Matter of R.G.P., a Child.
DEPARTMENT OF HUMAN SERVICES, Petitioner-Respondent,
v.
P.P., Appellant.
J030354; A145790.
Court of Appeals of Oregon.
Argued and Submitted December 22, 2010.
Decided February 2, 2011.
Holly Telerant, Deputy Public Defender, argued the cause for appellant. With her on the briefs was Peter Gartlan, Chief Defender, Appellate Division, Office of Public Defense Services.
Kristen G. Williams, Assistant Attorney General, argued the cause for respondent. With her on the brief were John R. Kroger, Attorney General, and Mary H. Williams, Solicitor General.
Before ORTEGA, Presiding Judge, and SERCOMBE, Judge, and LANDAU, Judge pro tempore.
PER CURIAM.
Father appeals a judgment terminating his parental rights to his child. The juvenile court found that termination was proper under both ORS 419B.502 (involving "a single or recurrent incident of extreme conduct toward any child") and ORS 419B.504 (involving "conduct or condition seriously detrimental to the child or ward"). An extended discussion of this case would not benefit the bench or bar. We affirm the judgment of termination pursuant to ORS 419B.504 and therefore do not reach the issue whether termination was proper under ORS 419B.502.
Affirmed.
